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S. J. Beaulieu, Jr., Chapter 13 Trustee 433 Metairie Road, Suite307
(504)831-1313 Metairie, LA 70005
Debtor(s): SAM wi hid Case No, /é-/3935

The following Deficiencies have been found in this case:

Priority Claims: 0 Case involves a Domestic Support Obligations (DSC)

O Taxes awed O Personal injury debt O Student Loan 0 Debt due on Retirement Account

OPlease Provide © Full name, address and telephone number of claim holder and State
Support Agency for DSO and 0) Copy of Judgment for DS0 0

O Credit counseling Certificate (Form 23) and Repayment Plan or Exemption Certificate (§ 521(b))

OC) To avoid a MTD, 60 days’ pay advices needed (& days before MOC) for 0 Debtor 0 Spouse
o

O To avoid a MTD, debtor must provide (7 days before MOC) Tax Return(s) (or transcripts) for the
Tax year: 0
0 Debtor(s) must certify the filing of all tax returns for the 4 years preceding the case
O Need Employment information and Income/Expense itemization on Non-Filing Spouse.
O Schedule I & JC including statement of anticipant increase/decrease in income Other

O) Debtor in business/Self-Employed:

Debtor must provide: G Statement of Affairs Balance Sheet O Profit & Loss O Business Budget
0 Tax Returns for:

O Fixed Fee Apreement

Chapter 13 Plan:
oNeeds Court Approved Liquidation Analysis ©) Fails liquidation test:

O) Applicable Commitment period is 60 months: O Debtor's plan is for: months.
O Broker’s Price Opinion (BPO) on: G Debtor's residence O) Other
O Must state collateral value for each secured creditor.

O Lines 7, 9, 10 and 21 exceed IRS Standards by $ on Schedule J

O Need proof of charitable contribution (front and back of checks). Bank statements with contribution and totaled.
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The deadline to respond to the Deficiencies is L:1@ LG

